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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS
____________________________________
                                     :
UNITED STATES OF AMERICA,            :
                                     :
                                     :  Criminal No. 24-10293
v.                                   :
                                     :
CLS GLOBAL FZC LLC et al.            :
                                     :
                                     :
____________________________________:

               CERTIFICATION OF ALEXANDER URBAN IN SUPPORT OF
                     MOTION FOR ADMISSION PRO HAC VICE

         I, Alexander Urban, hereby certify and say:

         1.     I am an attorney-at-law seeking admission pro hac vice to represent CLS Global

FZC LLC in the above-captioned matter in the United States District Court, District of

Massachusetts.

         2.     I am a partner at the law firm Blanche Law PLLC, 99 Wall St., Suite 4460, New

York, N.Y. 10005.

         3.     I am a member in good standing of the Bar of the State of New York (admitted

2021).

         4.     I am a member in good standing of the Bar of the District of Columbia (admitted

2010).

         5.     I am a member in good standing of the Bar of the State of Maryland (admitted

2009).

         6.     I am a member in good standing admitted to practice before the United States

District Court for the District of Columbia (admitted 2011).

         7.     I have not been denied admission to, nor have I been disciplined by, any court.

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       8.       I know of no disciplinary action pending against me in any jurisdiction.

       9.       I have not previously had pro hac vice admission to this court (or other admission

for a limited purpose under Local Rule 83.5.3) revoked for misconduct.

       10.      I am familiar with and shall abide by all applicable rules of the Court, including

local rules and all disciplinary rules, in the course of my representation of CLS Global FZC LLC

in this action. I acknowledge that all lawyers admitted pro hac vice before this Court are within

disciplinary jurisdiction of this Court.

       11.      I shall notify the Court immediately of any matter affecting my standing at the bar

of any court.

       12.      For purposes of this litigation, Robert Fisher, an attorney-at-law who is admitted to

practice in the state of Massachusetts, a member of the Bar of this Court, and a partner at the law

firm Nixon Peabody LLP, shall appear as counsel of record.

       13.      If admitted pro hac vice, payment for such admission shall be promptly remitted to

the Clerk, United States District Court for the District of Massachusetts, in accordance with the

Court’s Fee Schedule.

       14.      My client, CLS Global FZC LLC, has requested that I participate in this matter.

       15.      Based on the foregoing, I respectfully request that the Court grant my application

to appear pro hac vice on behalf of CLS Global FZC LLC in the above-captioned matter.

       I certify that the foregoing statements made by me are true. If any of the foregoing

statements made by me are willfully false, I am subject to punishment.




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 Dated: January 22, 2025                              /s/ Alexander Urban
                                                      Alexander Urban, Esq.
                                                      Lex.Urban@Blanchelaw.com
                                                      BLANCHE LAW PLLC
                                                      99 Wall St., Suite 4460
                                                      New York, NY 10005
                                                      (212) 716-1250

                                CERTIFICATE OF SERVICE

       I hereby certify that I filed this document through the Court’s ECF system on January 22,

2025, which will therefore be automatically sent electronically to all counsel of record via the

CM/ECF system.

                                                      /s/ Robert A. Fisher
                                                      Robert A. Fisher




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